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 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      )     1:06-cr-00067 AWI
                                                    )
12                         Plaintiff,               )     STIPULATION TO CONTINUE
                                                    )     MOTIONS HEARING
13                  v.                              )
                                                    )
14   WILLIAM TODD LON, et al.,                      )
                                                    )
15                                                  )
                           Defendants.              )
16                                                  )

17          The parties herein, through their respective counsel, hereby agree and stipulate that the

18   hearing currently set for June 26, 2006 at 9 a.m. be continued to July 24, 2006 at 9 a.m. and;

19   responses due July 3, 2006 with a reply due July 10, 2006.

20          Pursuant to 18 U.S.C. §3161(h)(i)(F), 3161(h)(8)(A) and 3161(h)(8)(B)(i), we would ask

21   that exclusion of time be granted

22   DATED: June 15, 2006                                 McGREGOR W. SCOTT
                                                          United States Attorney
23
                                                        By /s/ Laurel J. Montoya
24
                                                          LAUREL J. MONTOYA
25                                                        Assistant U.S. Attorney

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        Case 1:06-cr-00067-LJO Document 26 Filed 06/16/06 Page 2 of 3



 1

 2   DATED: June 15, 2006                         /s/ Anthony P. Capozzi
                                               ANTHONY P. CAPOZZI
 3                                             Attorney for William Lon Todd

 4

 5   DATED: June 15, 2006                         /s/ Eric Kersten
                                               ERIC KERSTEN
 6                                             Attorney for Jimmy Wayne Reynolds

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 1                                                ORDER

 2          IT IS HEREBY ORDERED THAT the motions hearing currently set for June 26, 2006 at 9

 3   a.m. be continued to July 24, 2006 at 9 a.m. and; responses due July 3, 2006 with a reply due July

 4   10, 2006.

 5

 6   IT IS SO ORDERED.

 7   Dated:      June 16, 2006                         /s/ Anthony W. Ishii
     0m8i78                                      UNITED STATES DISTRICT JUDGE
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